      Case 3:20-cr-03599-JLS Document 109 Filed 05/31/22 PageID.249 Page 1 of 1




 1
 2
 3
 4
                          UNITED STATES DISTRICT COURT
 5
                        SOUTHERN DISTRICT OF CALIFORNIA
 6
 7   UNITED STATES OF AMERICA,                 Case Nos.: 3:20-CR-3599-JLS
 8         Plaintiff,
                                               ORDER GRANTING THE JOINT
 9         v.                                  MOTION TO SET A MOTION
                                               HEARING AND TRIAL SETTING FOR
10   NICOLE DETAR (2),                         JUNE 17, 2022 AND EXCLUDING
                                               TIME UNDER THE SPEEDY TRIAL
11         Defendant.                          ACT
12
13        Upon motion of the United States of America, by and through its counsel, Randy
14 S. Grossman, United States Attorney, and Eric R. Olah, Assistant United States
15 Attorney, and Defendant Nicole Detar, through counsel Marc Levinson, and for good
16 cause shown:
17        IT IS HEREBY ORDERED that the Joint Motion (ECF No. 108) is GRANTED,
18 and a Motion Hearing and Trial Setting is set for June 17, 2022 at 1:30 p.m.
19        Furthermore, time is excluded for purposes of the Speedy Trial Act from March
20 4, 2022 through June 17, 2022; the Court finds, for the reasons stated in the parties’
21 Joint Motion, that the ends of justice served by granting the proposed continuance
22 outweigh the best interests of the public and the defendant in a speedy trial under 18
23 U.S.C. § 3161(h)(7); additionally, time is excluded in light of the pending defense
24 motions under § 3161(h)(1)(D).
25         IT IS SO ORDERED.
     Dated: May 31, 2022
26
27
28
